Information to identify the case:
Debtor 1              Glen F Moody, Jr.                                                     Social Security number or ITIN     xxx−xx−9072
                      First Name   Middle Name     Last Name                                EIN _ _−_ _ _ _ _ _ _
Debtor 2              Amber N Moody                                                         Social Security number or ITIN     xxx−xx−9753
(Spouse, if filing)
                      First Name   Middle Name     Last Name                                EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Eastern District of Wisconsin                     Date case filed for chapter 7 10/31/18

Case number:          18−30298−beh


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                               12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

                                              Debtors must attend this meeting
                                      Meeting of Creditors: December 3, 2018 at 01:00 PM
                         U.S. Courthouse, Room 428A, 517 East Wisconsin Avenue, Milwaukee, WI 53202

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                         About Debtor 2:

1.      Debtor's full name                       Glen F Moody, Jr.                                       Amber N Moody

2.      All other names used in the
        last 8 years

3.     Address                               826 Squire Lane                                            826 Squire Lane
                                             West Bend, WI 53090                                        West Bend, WI 53090

4.     Debtor's attorney                         Mark J. Brunner                                        Contact phone 262−335−1994
                                                 BRUNNER LAW OFFICE, LLC
       Name and address                          233 N. Main Street                                     Email: brunnerlaw@sbcglobal.net
                                                 West Bend, WI 53095

5.       Meeting of creditors                                          December 3, 2018 at 01:00 PM                      Location:

         Debtors must attend the meeting to be questioned under        The meeting may be continued or                   U.S. Courthouse,
         oath. In a joint case, both spouses must attend. Creditors    adjourned to a later date. If so, the date        Room 428A, 517 East
         may attend, but are not required to do so.
                                                                       will be on the court docket.                      Wisconsin Avenue,
                                                                                                                         Milwaukee, WI 53202
                                    *** Valid photo identification and proof of social security number required ***
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1




                              Case 18-30298-beh                      Doc 5     Filed 10/31/18           Page 1 of 2
Debtor Glen F Moody, Jr. and Amber N Moody                                                                            Case number 18−30298−beh


6. Bankruptcy trustee                            Steven R. McDonald                                       Contact phone (414) 226−2200
                                                 7280 South 13th Street
   Name and address                              Suite 103
                                                 Oak Creek, WI 53154


7. Bankruptcy clerk's office                    Room 126, U.S. Courthouse                                 Office Hours: Monday through Friday,
                                                517 East Wisconsin Avenue                                 8:30 A.M. until 4:30 P.M., except legal
    Documents in this case may be filed at this Milwaukee, WI 53202−4581                                  holidays.
    address. You may inspect all records filed
    in this case at this office or online at
    www.pacer.gov.                                                                                        Contact phone (414) 297−3291

                                                                                                          Date: 11/1/18

8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge                Filing deadline: 2/1/19
                                               or to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                        Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as      conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize
                                                 an exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a
                                     motion asking the court to extend the deadlines in this notice. Consult an attorney
                                     familiar with United States bankruptcy law if you have any questions about your rights in
                                     this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                 debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                            page 2




                              Case 18-30298-beh                  Doc 5         Filed 10/31/18             Page 2 of 2
